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Court News ...


    
	
	
		Amendment to Rule 608, South Carolina Appellate Court Rules&nbsp;&nbsp;(03-30-2016)
	
		Amendment to Rule 416, South Carolina Appellate Court Rules&nbsp;&nbsp;(03-30-2016)
	
		Civil Action Coversheet Revision&nbsp;&nbsp;(03-28-2016)
	
		Investiture Ceremony for Justice John Cannon Few&nbsp;&nbsp;(03-24-2016)
	
		...more
	
     


  
	  
	    
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